                                                                  Case 8:23-cv-00654-JVS-JDE           Document 47   Filed 10/10/23   Page 1 of 5 Page ID
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                                                                                                  UNITED STATES DISTRICT COURT
                                                                            9                    CENTRAL DISTRICT OF CALIFORNIA
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                                                                                BTL INDUSTRIES, INC.,                  CASE NO. 8:23-cv-00654-JVS-JDE
                                                                           12
PAYNE & FEARS LLP




                                                                                                                       Hon. James V. Selna
                                                                           13             Plaintiff,
                    200 N. Pacific Coast Hwy., Ste. 825




                                                                                     v.                                FINAL JUDGMENT AND
                          El Segundo, CA 90245
                          ATTORNEYS AT LAW




                                                                           14
                                                                                                                       PERMANENT INJUNCTION
                                                          (310) 689-1750




                                                                           15 BEAUTY WORKS OC LLC, d/b/a
                                                                              NEWPORT PEACHES INC.;
                                                                           16
                                                                              SNEZHANA KURKINA
                                                                           17
                                                                                      Defendants.
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                                                                            1          WHEREAS, the Court has considered the Motion for Default Judgment
                                                                            2 Filed by Plaintiff BTL Industries, Inc. and all supporting papers, and with good
                                                                            3 cause appearing for same, it is HEREBY ORDERED, ADJUDGED and
                                                                            4 DECREED that:
                                                                            5         1.    The Court has subject matter and personal jurisdiction over this action
                                                                            6 and the parties.
                                                                            7         2.    Venue is proper before this District.
                                                                            8         3.    Judgment is entered on the Complaint brought by Plaintiff BTL
                                                                            9 Industries, Inc. against Defendants Beauty Works OC LLC; Newport Peaches, Inc.;
                                                                           10 and Snezhana Kurkina (“Defendants”) on all causes of action brought against them,
                                                                           11 as follows:
PAYNE & FEARS LLP




                                                                           12                    a. Judgment is entered for Plaintiff and against Defendants on the
                    200 N. Pacific Coast Hwy., Ste. 825




                                                                           13                       first cause of action for infringement of Patent No. 10,478,634.
                          El Segundo, CA 90245
                          ATTORNEYS AT LAW


                                                          (310) 689-1750




                                                                           14                    b. Judgment is entered for Plaintiff and against Defendants on the
                                                                           15                       second cause of action for trademark infringement under 15
                                                                           16                       U.S.C. § 1114.
                                                                           17                    c. Judgment is entered for Plaintiff and against Defendants on the
                                                                           18                       third cause of action for federal unfair competition, false
                                                                           19                       designation of origin, and false advertising under 15 U.S.C. §
                                                                           20                       1125.
                                                                           21                    d. Judgment is entered for Plaintiff and against Defendants on the
                                                                           22                       fourth cause of action for common law trademark infringement
                                                                           23                       and unfair competition.
                                                                           24         4.    The Court finds that Defendants’ infringement of BTL’s patents and
                                                                           25 trademarks was willful and malicious within the meaning of 35 U.S.C. § 284 and
                                                                           26 15 U.S.C. § 1117(b).
                                                                           27         5.    Plaintiff is awarded $375,000 against Defendants, jointly and
                                                                           28 severally, on all causes of action.
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                                                                            1        6.    In addition, Plaintiff is further awarded a permanent injunction on the
                                                                            2 first cause of action for infringement of Patent No. 10,478,634 and BTL’s
                                                                            3 trademarks, as follows: Defendants and their officers, agents, employees, and all
                                                                            4 persons acting in concert with Defendants are enjoined from further infringement
                                                                            5 of BTL’s trademarks, including without limitation the EMSCULPT NEO®
                                                                            6 trademark, and patents, including without limitation Patent No. 10,478,634.
                                                                            7
                                                                            8        IT IS SO ORDERED.
                                                                            9
                                                                           10 Dated: October 10, 2023
                                                                                                                            Hon. James V. Selna
                                                                           11                                               United States District Judge
PAYNE & FEARS LLP




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                    200 N. Pacific Coast Hwy., Ste. 825




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                          El Segundo, CA 90245
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                                                                                                                  #:729



                                                                            1                                   PROOF OF SERVICE
                                                                            2
                                                                            3        At the time of service, I was over 18 years of age and not a party to this
                                                                              action. I am employed in the County of Los Angeles, State of California. My
                                                                            4 business address is 200 N. Pacific Coast Highway, Suite 825, El Segundo, CA
                                                                            5 90245.
                                                                            6
                                                                                    On August 23, 2023, I served true copies of the following document(s)
                                                                            7 described as:
                                                                            8
                                                                                   [PROPOSED] FINAL JUDGMENT AND PERMANENT INJUNCTION
                                                                            9
                                                                           10
                                                                                on the interested parties in this action as follows:
                                                                           11
                                                                                                         SEE ATTACHED SERVICE LIST
PAYNE & FEARS LLP




                                                                           12
                    200 N. Pacific Coast Hwy., Ste. 825




                                                                           13
                          El Segundo, CA 90245
                          ATTORNEYS AT LAW




                                                                                     BY MAIL: I enclosed the document(s) in a sealed envelope or package
                                                                           14 addressed
                                                          (310) 689-1750




                                                                                         to the persons at the addresses listed in the Service List and placed the
                                                                           15 envelope for collection and mailing, following our ordinary business practices. I am
                                                                           16 readily familiar with Payne & Fears LLP’s practice for collecting and processing
                                                                              correspondence for mailing. On the same day that correspondence is placed for
                                                                           17 collection and mailing, it is deposited in the ordinary course of business with the
                                                                           18 United States Postal Service, in a sealed envelope with postage fully prepaid.
                                                                           19       I declare under penalty of perjury under the laws of the United States of
                                                                           20 America  that the foregoing is true and correct and that I am employed in the office
                                                                              of a member of the bar of this Court at whose direction the service was made.
                                                                           21
                                                                           22       Executed on August 23, 2023, at El Segundo, California.




                                                                                                                                   /s/ Diana Villegas
                                                                                                                             Diana Villegas
                                                                  Case 8:23-cv-00654-JVS-JDE           Document 47   Filed 10/10/23   Page 5 of 5 Page ID
                                                                                                             #:730



                                                                            1                                 SERVICE LIST
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                                                                            3 Beauty Works
                                                                              Legalinc Registered Agents, Inc.,
                                                                            4
                                                                              Registered Agent
                                                                            5 4 Embarcadero Ctr., Suite 1400 #85
                                                                              San Francisco, CA 94111
                                                                            6
                                                                            7 Newport Peaches
                                                                            8 28281 Crown Valley Pkwy, Suite 250
                                                                              Laguna Niguel, CA 92677
                                                                            9
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                                                                              Snezhana Kurkina
                                                                           11 28281 Crown Valley Pkwy, Suite 250
PAYNE & FEARS LLP




                                                                           12 Laguna Niguel, CA 92677
                    200 N. Pacific Coast Hwy., Ste. 825




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                          El Segundo, CA 90245
                          ATTORNEYS AT LAW


                                                          (310) 689-1750




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